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          15-4192-cr
           ___________________________________________

               UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT
           ___________________________________________

                    UNITED STATES OF AMERICA,

                                              Appellee,

                                 -v-

                   STEPHEN M. HOWELLS, II,

                                              Defendant-Appellant.


      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF NEW YORK

__________________________________________________________________

         BRIEF ON APPEAL FOR DEFENDANT-APPELLANT
                     STEPHEN M. HOWELLS, II
__________________________________________________________________

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                            JURISDICTIONAL STATEMENT

          This appeal is taken from a judgment imposed against Defendant/Appellant

Stephen M. Howells, II, (“Howells”) by the Honorable Glenn T. Suddaby, Chief

United States District Court Judge, in the Northern District of New York. A. 203-

09.1 Judgment was entered on December 22, 2015. Id. The district court had subject

matter jurisdiction pursuant to 18 U.S.C. § 3231 because this was a criminal case

alleging violations of 18 U.S.C. 2251(a) and 2252(a)(5)(B). Id. Jurisdiction is

invoked in this Court pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742. A notice

of appeal was timely filed on December 29, 2015. A. 210.

                        STATEMENT OF ISSUES FOR APPEAL
    I.       WHETHER THE DISTRICT COURT’S CALCUATION OF THE
             “TOTAL PUNISHMENT” BY A METHOD DIFFERING FROM THAT
             SET FORTH IN THE GUIDELINES’ COMMENTARY AND ITS USE
             OF THAT CALCULATION TO JUSTIFY IMPOSING CONSECUTIVE
             SENTENCES TOTALLING 6,960 MONTHS (580 YEARS) WAS
             PROCEDURALLY REASONABLE.

    II.      WHETHER THE IMPOSITION OF A 6,960-MONTH TERM OF
             IMPRISONMENT ON A DEFENDANT WHO HAS BEEN
             SEPARATELY SENTENCED IN STATE COURT FOR THE
             CONDUCT UNDERLYING THE FEDERAL CHARGES, RELEASED
             HIS VICTIMS, COOPERATED FULLY WITH LAW
             ENFORCEMENT, PLEADED GUILTY WITHOUT THE BENEFIT OF
             A PLEA AGREEMENT, AND IS AMENABLE TO
             PSYCHOLOGICAL TREATMENT WAS SUBSTANTIVELY
             REASONABLE.

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          Citations to the Appendix on Appeal (“A.”) are to the page numbers inserted therein.
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    III.      WHETHER THE IMPOSITION OF A TERM OF IMPRISONMENT OF
              6,960 MONTHS (580 YEARS) CONSTITUTES AN EXCESSIVE
              SANCTION AND CRUEL AND UNUSUAL PUNISHMENT.

                              STATEMENT OF THE CASE

           Howells appeals from a judgment of the Northern District of New York

(Suddaby, C.J.) imposing a 6,960-month term of imprisonment after his plea of

guilty to sixteen counts of sexual exploitation of children and five counts of

possession of child pornography. Appendix on Appeal (“A”) 203-09. The Office of

the Federal Public Defender was continued by this Court as counsel to Howells on

this appeal pursuant to the Criminal Justice Act.

                                STATEMENT OF FACTS

                   A. Howells’ Background

           Howells is forty years old. Presentence Investigation Report (“PSR 2”) at 3.

He is the oldest of four sons born to the marital union of Stephen Howells, Sr., and

Vera Carpenter. A. 125, 141. Howells’ father was abusive. A. 125. According to

Howells’ mother, Howells’ father had Howells perform oral sex on him when

Howells was an infant. A. 126. Howells’ mother has also stated that Howells’



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        The PSR has been filed under seal in this Court. The version filed in this Court and cited
herein is the final report, submitted to the district court on December 15, 2015. A. 17.
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father would “hold a milk bottle in a suggestive position on his groin when feeding

Mr. Howells as a child” and took “an inordinate amount of time manipulating Mr.

Howells’ penis when changing his diaper . . . . [H]e was deriving pleasure from it.”

A. 126.

      Howells’ mother reports that Howells’ father frequently kicked her, smashed

objects in the house, and used rough sex as a means of control even after the

couple divorced. A. 125-26. According to Howells’ mother, Howells’ father told

her that he would engage in sexual behavior with one of their sons if she did not

submit. A. 125.

      Howells’ father denies abusing anyone in the family. A. 126. He does,

however, agree that Howells and his three brothers were highly sexualized in their

vocabulary and behavior as small children. A. 126.

      Howells himself has no specific memories of his father sexually abusing

him. A. 126. Howells has very limited memories of his childhood in general. A.

126, 138. Such memory problems are common in people who have suffered

childhood abuse. A. 138. However, he believes that the sexual abuse occurred

because he had a great deal of sexual knowledge at a young age. PSR ¶ 288. He

recalls sleeping in the same bed as his father during visits after his parents’ divorce

and his father showing him pornographic magazines and movies. PSR ¶ 288.

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      Howells’ father left the family to be with another man when Howells was

somewhere between five and eight years old. A. 125; PSR ¶¶ 282-83. After his

parents’ divorce, Howells remained with his mother and brothers. A. 126. Howells’

mother became clinically depressed and unable to function. PSR ¶ 283. Howells

was forced to become the head of the family and take care of his younger brothers.

PSR ¶ 283. He did everything around the house including cooking. PSR ¶ 289. The

family moved frequently. A. 126. There was no running water or indoor plumbing

in several of the places the family lived. A. 126. As a result, Howells occasionally

had to attend school in dirty clothing, including clothes soaked in urine. A. 127. At

one point, his school reported that the odor was causing Howells problems with his

peers and that Howells had twice been provided with showers and clean clothing

because he had arrived in such filthy condition. A. 127.

       From ages nine through eleven and thirteen through fifteen, Howells lived

with his maternal aunt. A. 126. The second time was as a foster care placement

after he was removed from his mother’s home due to neglect. A. 126. Howells has

vague memories of his older male cousin molesting him while he was living with

his aunt. A. 131. Later, while Howells was still living there, the cousin killed

himself with a gun. A. 126. After that, Howells went to live with a teacher and her

husband. A. 128.

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      The PSR suggests that Howells has never undergone therapy or treatment for

the abuse and neglect he suffered as a child. It states that his mother regrets not

seeking help for him when he was a child, but states that the family was extremely

poor and that no one ever suggested that her sons seek counseling. PSR ¶ 289.

However, a defense psychosexual evaluation quotes Howells’ mother as stating

that Howells saw “therapists on occasion in the context of the separation, divorce,

and accusations of sexual abuse.” A. 130. The psychologist who performed the

evaluation opines that Howells “is motivated to obtain treatment for his problems,

is highly disclosing of his problems, and displays characteristics associated with

those who engage in treatment in a meaningful manner.” A. 139.

      Howells has maintained steady employment throughout his life, starting in

elementary school. A. 129. Howells took the GED in lieu of graduating from high

school and went to college early. A. 128. He attended college immediately after

getting GED and sporadically in the years thereafter, ultimately earning his

associate’s degree in 2004. PSR ¶¶ 297-98. He was a member of the Air Force

from 1996 through 2001 and was honorably discharged. PSR ¶ 301. He worked in

various medical jobs from 2002 through 2006. PSR ¶ 305. His most recent job was

as a registered nurse at Claxton-Hepburn Medical Center, where he worked from

2006 until his arrest. PSR ¶ 303.

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       Howells has been married twice. PSR ¶¶ 284-85. He married his high school

sweetheart when they were only eighteen years old. PSR ¶ 284. They divorced a

year later, concluding that they had gotten married too young. PSR ¶ 284. Howells

remarried in 2000 and had three children with his second wife. 3 PSR ¶ 285.

Howells’ second wife states that before 2011, Howells was “a man with great

potential who was very loving, compassionate, and committed to his family.” PSR

¶ 290. He “did everything right from furthering his education; getting a good job;

and taking good care of her and their children.” PSR ¶ 290. However, his behavior

changed in 2010 or 2011. PSR ¶ 290. He withdrew from the family and began

spending most of his time in front of the computer looking at pornography and

engaging in cybersex. PSR ¶ 290. The couple separated in 2012 and divorced in

2013. PSR ¶ 286.


                B. The Indicted Conduct
       The indicted conduct is very disturbing. It is fully detailed in the PSR

and will be only briefly summarized here. In 2012, Howells met his co-

defendant, Nicole Vaisey, on a social networking site catering to people

interested in bondage, dominant/submissive relationships, and fetishes. PSR



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      There has never been any allegation that Howells abused his own children. PSR ¶ 290.
Howells has stated that his children were “completely off limits.” PSR ¶ 286.
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¶¶ 53, 287. They began an intimate relationship that continued until their

arrest. Id. ¶ 287. On six occasions between September 2013 and May 2014,

they sexually exploited a seven-year-old girl and filmed the abuse with

multiple cameras. Id. ¶¶ 7-10, 13-15. On two occasions in November 2013

and December 2013, they sexually exploited a ten-year-old girl and filmed the

abuse with multiple cameras. Id. ¶ 7, 11-12. On three occasions in November

2013, December 2013, and April 2014, Howells—in the presence of Vaisey—

sexually exploited the seven-year-old, the ten-year-old, and the ten-year-old’s

five-year-old sister (separately and in combination) and filmed the abuse. Id.

¶¶ 17, 20-21, 23. Without Vaisey’s presence, Howells sexually exploited the

five-year-old, the seven-year-old, the ten-year-old, and an eight-year-old girl

(separately and in combination) and filmed the abuse on three occasions in

December 2012, September 2013, and January 2014. Id. ¶¶ 17-19, 22.

Howells used his employment as a registered nurse to obtain drugs that he

used to sedate the children during the abuse. Id. ¶ 6(a).

      On August 13, 2014, Howells and Vaisey kidnapped two Amish girls,

ages six and eleven, from their family’s farm stand. PSR. ¶ 30. Over the next

twenty-five hours, Howells drugged the girls, sexually exploited both girls

with Vaisey, and filmed the abuse. Id. ¶¶ 16, 31-34, 37-40.

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      On August 14, 2014, Howells and Vaisey drove the girls into the woods

near a residence and released them. PSR ¶ 34. The occupant of that residence

drove the girls home, where they were interviewed by law enforcement and

then taken to the hospital. Id. Meanwhile, Howells and Vaisey attempted to

hide or destroy any evidence that the girls had been at their home. Id. ¶ 40.

               C. Howells’ Cooperation with Law Enforcement
      On August 15, 2014, law enforcement officers located Howells’ home.

PSR ¶ 35. Howells and Vaisey emerged from the house, signed a form

consenting to a search of the property, and cooperated fully. Id. Later that day,

a federal search warrant was issued and executed. Id. ¶ 37. Howells and

Vaisey were present during the search. Id. Later that day, they each provided

voluntary oral and written statements admitting to their conduct with the

Amish girls and previous victims. Id. ¶¶ 37-43. Howells’ statement was eight

pages long. A. 123.

               D. The Proceedings in District Court
      Howells was indicted on September 17, 2014. A. 8. A superseding

indictment was issued on October 8, 2014. A. 11, 27-31. Howells was charged

with one count of conspiracy to sexually exploit children in violation of 18

U.S.C. §2251(a) and (e); fifteen counts of sexual exploitation of children in

violation of 18 U.S.C. § 2251(a); and five counts of possession of child
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pornography in violation of 18 U.S.C. § 2252A(b)(2). A. 27-29. Howells was

separately charged in state court with kidnapping and sexual abuse. A. 102,

105. He pleaded guilty to the state charges and was sentenced to a twenty-five

year prison term. A. 102, 105.

       On May 8, 2015, Howells pleaded guilty to all of the federal charges

against him. A. 59:25-63:17, 95:18-22. There was no plea agreement. PSR ¶

315. The district court accepted his plea. A. 98:2-12.

       The initial PSR was submitted to the district court on September 11,

2015. A. 15. A revised PSR was submitted on December 4, 2015. A. 16. An

amended PSR was submitted on December 15, 2015. A. 17. The PSR

calculated the total offense level as 43 and Howells’ criminal history score as

zero with a criminal history category of I. PSR ¶¶ 278, 281. The PSR

calculated the guideline sentencing range as 6,960 months (580 years). Id. ¶

313.

       The defense sentencing memorandum argued that the district court

should sentence Howells to thirty years of imprisonment followed by a

lifetime term of supervised release. A. 102. The defense advanced three

arguments. A. 102. First, the defense argued that a thirty-year sentence would

account for the fact that Howells would serve a lengthy state court sentence

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for the sexual abuse and kidnapping underlying the federal child pornography

charges. A. 102. As noted above, Howells pleaded guilty to those charges and

anticipated receiving a twenty-five year sentence with twenty years of post-

release supervision. A. 105. Second, the defense argued that a thirty-year

sentence would properly focus on the particular remaining federal interest in

the case. A. 102. Specifically, the defense noted that the only parts of

Howells’ conduct that implicated a federal (rather than a state) interest were

his production, receipt, and possession of child pornography. A. 105. The

defense noted that “[w]hile the nature of the federal offense is appalling, it

pales in comparison to the underlying state charges.” A. 104. Noting that

Howells never distributed the images he produced, the defense argued that

“[s]tacking the sentences consecutively would be greater than necessary based

on the remaining federal interest.” A. 105. Third, the defense argued that a

thirty-year sentence would place Howells’ conduct into relevant context. A.

102. The defense noted Howells’ childhood abuse and neglect; the fact that

he had never had the opportunity to receive treatment; his stable employment

history; his educational history; his military service; and his relationship with

his own children. A. 107-111. The defense noted that Howells would be

seventy years old when released after a thirty-year sentence and that fewer

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than 10% of defendants over the age of fifty commit further crimes after being

released. A. 111. Finally, the defense noted that Howells had released the

Amish girls; made no attempt to flee despite the girls knowing what he looked

like, what kind of car he drove, and where he lived; cooperated fully with law

enforcement; pleaded guilty to every charge in the indictment; acknowledged

his wrongdoing; and expressed extreme remorse for what he had done. A. 113.

      The government argued that Howells should be sentenced to 580 years

in prison followed by a lifetime term of supervised release. A. 163. In

response to Howells’ sentencing memorandum, the government argued that

Howells’ childhood experiences were insufficiently traumatic to warrant a

shorter sentence. A. 177-78.

      The district court conducted Howells’ sentencing hearing on December

17, 2015. A. 181. Before hearing the parties’ argument, the district court

inquired whether there was any objection to the PSR’s recitation of facts, its

offense level calculations, or its criminal history computation. A. 183:7-21.

The parties had no objections. The district court did not inquire whether there

was any objection to the PSR’s conclusion that the Guidelines sentencing

range was 6,960 months. PSR ¶ 314. Rather, the district court proceeded to

arguments by counsel. A. 183:22.

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      The government argued that “the decision to be made by the Court this

afternoon is whether to sentence Stephen Howells to life in prison or not.

There is no middle ground. There is either a sentence which may allow

Howells to one day reenter society or one that ensures that he never will.” A.

183:24-184:3. The defense, noting that Howells had been separately

prosecuted in state court for kidnapping and sexual abuse, urged the district

court to focus its sentence on the violations of federal law with which Howells

was charged. A. 188:24-190:10. The defense noted that Howells had

cooperated fully with law enforcement, consented to the search of his home,

confessed his guilt, and never minimized his conduct. A. 190:11-18. The

defense noted that Howells released the Amish girls despite knowing that they

could identify him, his car, and his home. A. 190:19-191:11. The defense

argued that if the district court “were to ignore [Howells’] actions in releasing

the victims and his cooperation with law enforcement and his timely plea of

guilt, it could send a message to others that they’re better off not releasing

their victims because they’ll end up with the same punishment anyhow.” A.

191:12-17.

      Howells spoke on his own behalf. A. 192. He said:

             I would just like to say that this evil I have done is my own,
             and that if the victims ever decide to research this further,
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              I want them to know that they did nothing wrong. They
              did nothing to cause this to happen to them. The things that
              were done to them were my own illness. And I want them
              to hopefully someday be able to let this go, move on with
              their lives and have a normal existence, hopefully no
              memory of me. I would also like to say that I took a young
              woman who had no experiences with love or relationships
              and twisted her affections around and made her do things
              that she would never have done on her own to satisfy my
              own wishes for sexual gratification, and I hope that
              someday she can forgive me and hopefully have a normal
              life herself.

A. 192:21-193:9.

       The court adopted the factual information and the guideline

calculations in the PSR. A. 193:17-18. Regarding the guideline calculation,

the district court stated that:

              the total offense level is 43, the criminal history is I, and
              the guideline imprisonment range is life. However, since
              no count of conviction carries a potential life sentence, the
              guideline sentence becomes 580 years, or 6,960 months,
              pursuant to U.S.S.G. Section 5G1.2(b). As this is a
              combined length of the authorized maximum sentences for
              Counts 1 through 21. As further instructed at 5G1.2(d), the
              sentence imposed on each count of conviction shall run
              consecutively to the extent necessary to produce a
              combined sentence equal to the total punishment, which
              again in this case is 580 years.

A. 193:19-A. 194:6. Having calculated the guideline sentence at 580 years,

the district court stated that it found



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             no reason to depart or vary from the applicable guideline
             sentence . . . . In fact, I find a guideline sentence is
             absolutely necessary to reflect the seriousness of your
             numerous crimes against children, to provide just
             punishment for the extent of these crimes against children,
             and to deter others from engaging in the same
             incomprehensible conduct, that being the sexual
             exploitation, drugging, kidnapping, restraining, and raping
             of children. There are few crimes more egregious than
             these, and I find the sentence imposed today is sufficient,
             but not greater than necessary, to achieve the goals of
             sentencing after considering the multitude of aggravating
             factors, including, but not limited to, the number of
             children you harmed by satisfying your deviant sadistic
             sexual desires and personality traits that enabled you to
             carry out your violent fantasies with no apparent guilt or
             remorse.

A. 194:16-195:11. After describing the details of the indicted conduct, the

district court concluded that:

             I find a guideline sentence is warranted, justified and
             reasonable because you are extremely dangerous and a
             violent sex offender. Only a life sentence can ensure the
             safety of the community, provide just punishment for the
             profound crimes against children and afford adequate
             deterrence. I cannot in good conscience impose a sentence
             that will ever allow you to have access to children again.

A. 198:9-16. In addition to the 580-year prison term, the district court imposed

a lifetime term of post-release supervision.




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      Judgment was entered on December 22, 2015. A. 203-09. The district

court issued a written Statement of Reasons for its sentence on December 23,

2015. 6 This appeal timely followed. A. 210.

                                      ARGUMENT

               A. The 580-Year Sentence Imposed on Howells Was
                  Procedurally and Substantively Unreasonable.

                    1. The Standard of Review is Reasonableness.
      In reviewing a district court’s sentencing decision, the standard is whether the

sentence imposed is reasonable. United States v. McNeil, 415 F.3d 273, 277 (2d Cir.

2005). “Reasonableness” has two components: procedural and substantive. United

States v. Aldeen, 792 F.3d 247, 251 (2d Cir. 2015). Substantive reasonableness is

judged in light of the factors listed in 18 U.S.C. § 3553(a). United States v.

Desnoyers, 708 F.3d 378, 385 (2d Cir. 2013). “[T]he duty of a reviewing court is

not to identify the ‘right’ sentence but, giving due deference to the district court’s

exercise of judgment, to determine whether the sentence imposed falls within the

broad range that can be considered reasonable under the totality of the

circumstances.” United States v. Jones, 531 F.3d 163,174 (2d Cir. 2008).

      Generally, this Court reviews sentencing decisions under a “deferential

abuse-of-discretion standard.” Gall v. United States, 552 U.S. 38, 41 (2007).


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      The Statement of Reasons has been filed under seal in this Court.
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Where issues regarding the procedural reasonableness of a sentence are not raised

in the trial court, this Court ordinarily reviews the trial court’s ruling for plain

error. United States v. Villafuerte, 502 F.3d 204, 207 (2d Cir. 2007).

                      2. The District Court Imposed a Procedurally Unreasonable
                         Sentence Because It Improperly Calculated the Guidelines
                         Range.
       The sentence imposed on Howells was procedurally unreasonable. “A

sentence is procedurally unreasonable if the district court ‘fails to calculate (or

improperly calculates) the Sentencing Guidelines range, treats the Sentencing

Guidelines as mandatory, fails to consider the §3553(a) factors, selects a sentence

based on clearly erroneous facts, or fails to adequately explain the chosen

sentence.’” Aldeen, 792 F.3d at 251 (quoting United States v. Chu, 714 F.3d 742,

746 (2d Cir. 2013)) (emphasis omitted). Here, the district court imposed a

procedurally unreasonable sentence because it improperly calculated the

Guidelines range. Because the defense objected to this issue in its sentencing

memorandum (A. 105) and was given no opportunity to object to the overall

Guidelines calculation at the sentencing hearing (A. 183:12-21), this Court should

review the issue under a deferential abuse of discretion standard rather than

performing plain error review. 7


7
       Although Howells is entitled to the more favorable abuse of discretion standard of
review, the district court also plainly erred in its Guidelines calculation.
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      The district court repeatedly stated its intention to impose “a

Guideline sentence” and its belief that the sentence it imposed was, in fact, within

the Guidelines range. (A. 194:16-17, 22; A. 198:9-10; Statement of Reasons ¶

IV(A).) Despite this intention, the district court failed to properly calculate the

Guidelines range in two ways. These two errors resulted in the district court

imposing a sentence that was more than five hundred years longer than the

Guidelines range.

      First, the district court miscalculated the “total punishment.” Under

Guideline § 5G1.2(b), “the court shall determine the total punishment and shall

impose that total punishment on each count.” U.S. Sentencing Guidelines Manual

§ 5G1.2(b) (U.S. Sentencing Comm’n 2014). The Guidelines define “total

punishment” as the total “determined by the court after determining the adjusted

combined offense level and the Criminal History Category and determining the

defendant’s guideline range on the Sentencing Table in Chapter Five, Part A.” U.S.

Sentencing Guidelines Manual § 5G1.2 cmt. n.1 (U.S. Sentencing Comm’n 2014).

Here, the adjusted combined offense level was 43 (PSR ¶ 313) and the Criminal

History Category was I (PSR ¶ 313), resulting in a Sentencing Table range of life.

Thus, the “total punishment” for the purposes of Guideline § 5G1.2(b) was life.

The district court, however, characterized the “total punishment” for the purposes

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of Guideline § 5G1.2(b) as 580 years—a sum reached by adding together the

statutory maximum term for each count. A. 193:19-A. 194:6. The trial court erred

in that characterization. In failing to calculate the “total punishment” properly in

the manner clearly set forth in the very first paragraph of the Guidelines

commentary, the district court abused its discretion and committed plain error.

Accordingly, this Court should vacate the sentence imposed on Howells.

      Second, the district court compounded its error when it applied its erroneous

“total punishment” calculation to the Guideline governing whether to impose

concurrent or consecutive sentences. Guideline § 5G1.2(d) states that:

             [i]f the sentence imposed on the count carrying the highest
             statutory maximum is less than the total punishment, then
             the sentence imposed on one or more of the other counts
             shall run consecutively, but only to the extent necessary to
             produce a combined sentence equal to the total
             punishment. In all other respects, sentences on all counts
             shall run concurrently.

Sentencing Guidelines Manual § 5G1.2(d) (U.S. Sentencing Comm’n 2014)

(emphasis added). The emphasised language expresses the long-standing

preference in American courts for concurrent sentences rather than consecutive

sentences. See 18 U.S.C. § 3584(a) (“Multiple terms of imprisonment imposed at

the same time run concurrently unless the court orders or the statute mandates that

the terms are to run consecutively.”); United States v. Martinez, 274 F.3d 897, 903

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n.5 (5th Cir. 2001) (characterizing § 5G1.2 as “labeling concurrent sentences as the

default”); United States v. Hardrich, 707 F.2d 992, 993 n.1 (8th Cir. 1983) (noting

that the National Advisory Commission on Criminal Justice Standards and Goals

“recommends a presumption in favor of concurrent sentences for multiple

offenses”). Here, having erroneously determined that the “total punishment” was

580 years, the district court assumed that, under § 5G1.2(d), it needed to impose

the maximum statutory sentence on every count, to be served consecutively, in

order to impose “a Guideline sentence.” What the district court was actually

required to do was to impose consecutive sentences but only to the extent

necessary to produce a combined sentence of life. The United States Sentencing

Commission defines a life sentence as 470 months (39.2 years). UNITED STATES

SENTENCING COMM’N, APPENDIX A, DESCRIPTION OF DATAFILES, VARIABLES, AND

FOOTNOTES http://www.ussc.gov/amendment-process/public-hearings-and-

meetings/appendix (last visited May 5, 2016). The Social Security Administration

states that a man reaching the age of sixty-five today can expect to live, on

average, until age 84.3. SOCIAL SECURITY ADMINISTRATION, CALCULATORS: LIFE

EXPECTANCY, https://www.ssa.gov/planners/lifeexpectancy.html (last visited May

5, 2016). Under the Social Security standard, a life sentence for Howells would be

44.3 years. Thus, the Guideline required the district court to impose consecutive

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sentences to produce a combined sentence of between 39.2 and 44.3 years. Such a

sentence would have been “a Guideline sentence.” The sentence that the district

court imposed was actually 535.7 to 540.8 years longer than the Guideline

sentence. Accordingly, this Court should vacate the sentence imposed on Howells. 8

                       3. The District Court Imposed a Substantively Unreasonable
                          Sentence.
       In addition to being procedurally unreasonable, the sentence imposed on

Howells is substantively unreasonable. In reviewing a sentence for substantive

reasonableness, a reviewing court must “take into account the totality of the

circumstances, giving due deference to the sentencing judge’s exercise of

discretion, and bearing in mind the institutional advantages of district courts.”

United States v. Cavera, 550 F.3d 180, 190 (2d Cir. 2008). Accordingly, this

Court will “set aside a district court’s substantive determination only in exceptional

cases where the trial court’s decision cannot be located within the range of

permissible decisions.” Id. at 189. However, “[a]t the substantive stage of

       8
                The government may argue that the district court’s error was harmless because
there is no practical difference between a prison sentence of 44.3 years and a prison sentence of
580 years—Howells will still die behind bars. But as a matter of policy, the Guidelines range sets
the tone for sentencing. See United States v. Park, 758 F.3d 193, 197 (2d Cir. 2014) (“A district
court normally begins all sentencing proceedings by calculating the applicable Guidelines range,
and will then consider the factors listed in 18 U.S.C. § 3553(a) . . . before imposing a final
sentence.”) Here, as discussed above, the district court repeatedly stated that it intended to
impose “a Guidelines sentence.” There is a huge difference conceptually between a starting point
of “life” and a starting point of 580 years. There is simply no telling how the district court would
have proceeded if it had properly determined the Guidelines range here.
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reasonableness review, an appellate court may consider whether a factor relied on

by a sentencing court can bear the weight assigned to it.” Id. at 191. Accordingly,

district courts may not impose “whatever sentences suit their fancy.” United States

v. Jones, 531 F.3d 163, 174 (2008). Here, the district court’s sentence was

substantively unreasonable for three reasons.

       First, the district court’s sentence failed to account for the fact that Howells

will serve a lengthy state court sentence for sexual abuse and kidnapping. Under 18

U.S.C. § 3553(a)(2)(A), the sentencing court is to consider the seriousness of the

offense when determining a particular sentence. Howells does not contest the

extremely serious nature of his offenses. However, much of the gravity of his

offenses was accounted for in his state sentence. The district court failed to give

that fact its proper weight. In fact, the district court explicitly stated that it

considered its sentence necessary to punish Howells for kidnapping and sexual

abuse—charges that he did not face in federal court and for which he will serve

time in state prison. Specifically, the district court informed Howells that its

sentence was “absolutely necessary to reflect the seriousness of your numerous

crimes against children, to provide just punishment for the extent of these crimes

against children, and to deter others from engaging in the same incomprehensible

conduct, that being the sexual exploitation, drugging, kidnapping, restraining, and

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raping of children.” A. 194:22-195:3. As a result, the federal sentence imposed on

Howells was substantively unreasonable. Accordingly, this Court should vacate the

sentence imposed on Howells.

      Second, the sentence imposed was substantively unreasonable because it

will not deter criminal conduct. 18 U.S.C. § 3553(a)(2)(B). Rather, it will

encourage more violent conduct. Howells released his victims. He did not flee. He

cooperated fully with law enforcement. He pleaded guilty to every charge brought

against him without the benefit of a plea agreement. Despite this cooperation, the

district court imposed the statutory maximum sentence on all twenty-one counts.

The message this sentence sends is clear: there is no reason for people in Howells’

position to release their victims, cooperate, or plead guilty because the sentence

will be hundreds of years regardless of a defendant’s mitigating actions.

Accordingly, this Court should vacate the sentence imposed on Howells.

      Third, the sentence imposed was substantively unreasonable because it did

not take into account the history and characteristics of the defendant. 18 U.S.C. §

3553(a)(1). As set forth above, Howells had an abusive and neglected childhood

for which he never received any therapy. He has continuously expressed remorse

for his actions and willingness to seek help to overcome his psychological

problems. The psychologist who conducted Howells’ psychosexual evaluation

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opined that Howells “displays characteristics associated with those who engage in

treatment in a meaningful manner.” A. 139. The district court utterly dismissed

these facts. Accordingly, this Court should vacate the sentence imposed on

Howells.

              B. The 580-Year Sentence Imposed on Howells Violates the
                 Eighth Amendment’s Prohibition of Excessive Sanctions and
                 Cruel and Unusual Punishment.


      The Eighth Amendment prohibits “excessive” sanctions and cruel and

unusual punishments. Atkins v. Virginia, 536 U.S. 304, 311 (2002). The Supreme

Court has interpreted this provision as prohibiting punishment that is “grossly

disproportionate” to the offense of conviction. Solem v. Helm, 463 U.S. 277, 288

(1983). Howells does not dispute that his offenses were extremely serious and

disturbing. However, the sentence imposed on Howells is far more severe—

literally hundreds of years longer—than sentences imposed on other defendants for

similar conduct. See United States v. Huffstatler, 571 F.3d 620 (7th Cir. 2009)

(450-month sentence imposed on repeat sexual offender for sexually abusing and

producing pornographic pictures of a fourteen-year-old boy); United States v.

Vowell, 516 F.3d 503, 511-13 (6th Cir. 2008) (780-month sentence for forty-year-

old man who had sexual intercourse with his girlfriend’s eight-year-old daughter

while being videotaped by his girlfriend); United States v. Johnson, 451 F.3d 1239
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(11th Cir. 2006) (140-year sentence for abusing and photographing three boys

between the ages of eight and sixteen). Accordingly, this Court should vacate the

sentence imposed on Howells.


                                 CONCLUSION

      For the foregoing reasons, Howells respectfully requests that the Court vacate

his sentence and remand the matter for resentencing.


                                      Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Second Circuit Rule 32(a)(7), undersigned counsel certifies that

this brief complies with the type-volume limitations of Federal Rule of Appellate

Procedure 32 (a)(7).

1.    Exclusive of the portions exempted by Federal Rule of Appellate Procedure

32(a)(7)(B)(iii), this brief contains 5,322 words.

2.    This brief has been prepared in proportionally spaced typeface using

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                                 /s/
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                         CERTIFICATE OF SERVICE

      I, Valarie Bruni, certify that today, May 13, 2016, one copy of the Appellant’s
Brief was served upon Mr. Richard Hartunian, United States Attorney, through
Steven Clymer, AUSA, 100 South Clinton Street, Syracuse, New York 13261, by
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                                              /s/
                                              Valarie Bruni




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